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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
UNITED STATES OF AMERICA,
                           Government,
                                                                            19 CR. 364 (RMB)
        -against-
                                                                            ORDER
REDHWAN ALZANAM,
                           Defendant.
-------------------------------------------------------------X

        The sentencing previously scheduled for Monday, October 26, 2020 at 9:00 AM is hereby
rescheduled to Monday, November 2, 2020 at 9:00 AM.



Dated: October 20, 2020
       New York, NY




                                                                __________________________________
                                                                      RICHARD M. BERMAN
                                                                            U.S.D.J.
